                IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

COMMON CAUSE, et al.,                       )
                                            )
             Plaintiffs,                    )
                                            )
      v.                                    )
                                            )
                                                       CIVIL ACTION
ROBERT A. RUCHO, in his official            )
                                                NO. 1:16-CV-1026-WO-JEP
capacity as Chairman of the North           )
Carolina Senate Redistricting               )
                                                    THREE-JUDGE COURT
Committee for the 2016 Extra Session        )
and Co-Chairman of the Joint Select         )
Committee on Congressional                  )
Redistricting, et al.,                      )
                                            )
             Defendants.


League of Women Voters of North             )
Carolina, et al.,                           )
                                            )
             Plaintiffs,                    )
                                            )
      v.                                    )
                                                      CIVIL ACTION
                                            )
                                                NO. 1:16-CV-1164-WO-JEP
Robert A. Rucho, in his official capacity   )
as Chairman of the North Carolina           )
                                                    THREE JUDGE COURT
Senate Redistricting Committee for the      )
2016 Extra Session and Co-Chairman of       )
the 2016 Joint Select Committee on          )
Congressional Redistricting, et al.,        )
                                            )
             Defendants.                    )


LEGISLATIVE DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO STAY
                  AUGUST 27, 2018 ORDER




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         Yesterday, the Court entered an Order declining to enjoin the use of the 2016

Congressional Redistricting Plan (“2016 Plan”) in the November 6, 2018 general election.

(D.E. 150).1 In the same Order, the Court ordered all Plaintiffs and State Defendants to

file a response to Legislative Defendants’ Motion to Stay (D.E. 146) the Court’s August

27, 2018 Order (D.E. 142) prohibiting the use 2016 Plan after the November 6, 2018

general election.     In giving this directive, the Court asked the Plaintiffs and State

Defendants to “focus on whether Legislative Defendants will suffer irreparable harm from

our order to not allow the use of the unconstitutional 2016 Plan beyond the November 6,

2018, general election.” (D.E. 150, p. 3).

         Before the Court entered its Order yesterday, the Common Cause Plaintiffs filed a

response to Legislative Defendant’s Motion to Stay stating their belief that permitting the

Supreme Court an opportunity to “speedily” review this Court’s judgment “before a

remedy is implemented” would be the “most prudent course.” (D.E. 149, p. 2). Although

Legislative Defendants disagree with the Common Cause Plaintiffs’ assertion that this

Court’s judgment should be affirmed, they agree that allowing the Supreme Court an

opportunity to review this Court’s decision before any remedy is implemented is indeed

the “most prudent course.” Earlier today, the League of Women Voters Plaintiffs filed a

response to the Court’s Order yesterday requesting that the Court “consider commencing

remedial plan action in May of 2019” or, alternatively, enter a stay on two conditions

proposed by the Common Cause Plaintiffs. (D.E. 151, pp. 2-3).


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    All docket entries cited correspond with the docket entries in Case No. 1:16-cv-1026.
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      Legislative Defendants strongly disagree with the contentions by Plaintiffs that they

seek to delay the ultimate resolution of this matter. Legislative Defendants seek only to

ensure that the Supreme Court can review this case before any remedial proceedings begin.

Accordingly, Legislative Defendants do not oppose Plaintiffs’ proposal to condition entry

of a stay pending the completion of Supreme Court review of the August 27, 2018 Order

on the following: (1) that Legislative Defendants will file their Jurisdictional Statement

with the Supreme Court by October 1, and (2) that Legislative Defendants will seek no

requests for extension of time while their appeal is pending before the Supreme Court.

      Accordingly, Legislative Defendants request that this Court stay its Order of August

27, 2018 pending Supreme Court review.

      Respectfully submitted this 5th day of September, 2018.

                                        OGLETREE, DEAKINS, NASH
                                        SMOAK & STEWART, P.C.

                                        /s/ Phillip J. Strach
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        CERTIFICATE OF COMPLIANCE WITH WORD LIMITATION


      I hereby certify that the total word count for the body of the foregoing reply

including headings and footnotes is 417 words.




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                            CERTIFICATE OF SERVICE

       I, Phillip J. Strach, hereby certify that I have this day electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which will provide electronic
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     This the 5th day of September, 2018.

                                      OGLETREE, DEAKINS, NASH
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                                      /s/ Phillip J. Strach

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